      Case 3:15-cv-01072-N Document 30 Filed 11/23/16                Page 1 of 7 PageID 182


                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF TEXAS
                                   DALLAS DIVISION

BLACKSTONE DEVELOPERS, LLC,                      §
                                                 §
        Plaintiff,                               §
                                                 §
vs.                                              § CIVIL ACTION NO. 3:15-cv-01072-N
                                                 §
LIBERTY MUTUAL INSURANCE,                        §
                                                 §
        Defendant.                               §


                            AGREED MOTION FOR CONTINUANCE

        Plaintiff Blackstone Developers, LLC (“Plaintiff”) and Defendant Ohio Security Insurance

Company (collectively, the “Parties”) file this Agreed Motion or Continuance, and in support thereof

would respectfully show as follows:

                                                  I.

                     BACKGROUND AND BASIS FOR REQUESTED RELIEF

        This lawsuit arises out of an insurance claim for alleged storm damage to commercial

property located at 205 S. Main Street, Red Oak, Texas. Trial is currently set for February 13, 2017

based on the Court’s Amended Scheduling order issued in late June, 2016. Since the Court’s entry of

this order, the Parties have worked cooperatively and diligently to complete the remaining written

and deposition discovery.    The Parties have exchanged complete sets of written discovery and

Defendants have taken the depositions of Plaintiff’s designated experts.

A.      COMPLETION OF DISCOVERY

        In attempting to schedule the remaining depositions, however, the parties have encountered

various issues related to the schedule of both witnesses and counsel. More specifically, there has

been difficulty in scheduling the deposition of Plaintiff’s corporate representative. Plaintiff’s

corporate representative, the Owner of Blackstone Developers, LLC and the individual with the most


_____________________________________________________________________________________________
AGREED MOTION FOR CONTINUANCE                                                     Page 1
     Case 3:15-cv-01072-N Document 30 Filed 11/23/16                     Page 2 of 7 PageID 183


knowledge of the facts and circumstances giving rise to Plaintiff’s claims, spends a majority of his

time in Japan. Due to his international travel, requiring him to spend most of his time overseas,

Plaintiff’s corporate representative has not been available and will not be available until after the first

of the year.

        Also, the insured Property is a multi-tenant facility. Defendants are working with three of

these tenants to set a time and date for their respective depositions. The depositions referenced above,

including Plaintiff’s depositions of Defendant’s fact and expert witnesses are critical to the

preparation of this case not only for trial, but so that the Parties can conduct a fruitful mediation.

B.      PENDING TRIAL SCHEDULE

        In addition to these deposition scheduling issues, Defendant’s counsel is currently set for trial

in several matters in consecutive weeks in January and February, including one trial set on the same

day as this matter, making it virtually impossible for Defendant’s to properly prepare the instant case

for trial by the current trial date. In that regard, Defendant’s counsel is currently set for trial in the

following matters:

        Case Name                            Case Information                    Trial Date
        Hai Minh Le, et al. v. Safeco        Cause No DC-16-00716, 193rd         January 10, 2017
        Ins. Co. of Indiana, et al.          Judicial District of Dallas
                                             County, Texas
        Jose Arellano, et al v. Safeco       Cause No. DC-15-07730, 191st        January 17, 2017
        Ins. Co. of Indiana, et al.          Judicial District, Dallas County
        Kerry Smith, et al v. Safeco Ins.    Cause No. 296-00475-2015,           January 23, 2017
        Co. of Indiana, et al                296th Judicial District, Collin
                                             County
        Pedro Nieto, et al v. Safeco Ins.    Cause No. 429-00290-2016,           February 13, 2017
        Co. of Indiana, et al                429th Judicial District, Collin
                                             County

        Unsuccessful mediations have already been conducted in each of these cases. Therefore, at

this point, it is unlikely that any of these matters will be resolved.




_____________________________________________________________________________________________
AGREED MOTION FOR CONTINUANCE                                                  Page 2
     Case 3:15-cv-01072-N Document 30 Filed 11/23/16                   Page 3 of 7 PageID 184


        Counsel for both parties have a long history of working together on similar cases to complete

discovery. The Parties continue in their diligent and cooperative efforts to schedule the remaining

depositions. However, for the reasons explained herein, the Parties agree that they will be unable to

complete all necessary deposition discovery before the current trial date.

C.      CURRENT SETTLEMENT NEGOTIATIONS AND MEDIATION

        Furthermore, The Parties are working diligently together and have a history of making good

faith efforts to resolve cases.     The Parties are currently involved in constructive settlement

discussions and negotiations are ongoing. Towards that end, the Parties need additional time within

which to complete discovery, which will allow the Parties to conduct a fruitful mediation. The

Parties are currently discussing potential dates for a mediation to be held in Dallas, if possible, in

early February.

                                                   II.

                                       REQUESTED RELIEF

        Based on the foregoing, the Parties request additional time in which to conduct additional

written discovery, take depositions (parties, fact witnesses, consultants and experts), and prepare for

trial. The Parties respectfully request that the Court issue an order vacating the Scheduling Order and

current trial date of February 13, 2017. The Parties further request that the Court set a new trial date

in June, 2017.    The Parties further request that the Court continue the corresponding pre-trial

deadlines, including discovery, expert designation, and dispositive motion deadlines.

        The requested relief will not prejudice either party and will conserve judicial economy.

However, the Parties will be prejudiced if the Court does not grant the requested relief, as the Parties

will not have sufficient time to prepare this case for trial. Accordingly, the Parties seek the requested

relief not for purposes of delay, but so that justice may be done.

        Pursuant to Local Rule 40.1, the Parties’ client representatives personally approve of this

request for continuance as reflected by the signatures below.
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AGREED MOTION FOR CONTINUANCE                                                     Page 3
   Case 3:15-cv-01072-N Document 30 Filed 11/23/16                    Page 4 of 7 PageID 185


                                                 III.

                                              PRAYER

       WHEREFORE, the Plaintiff Blackstone Developers, LLC and Defendant Ohio Security

Insurance Company respectfully request that this Court grant the Parties’ Agreed Motion for

Continuance. The Parties further request that the Court vacate the current Scheduling Order and trial

setting of February 13, 2017 and re-set a new trial setting in June, 2017. The Parties further request

that the Court continue the corresponding pre-trial deadlines, including discovery, expert designation,

and dispositive motion deadlines.

                                               Respectfully Submitted,

                                               /s/ Scott Hunziker
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                                               ATTORNEYS FOR PLAINTIFF
                                               BLACKSTONE DEVELOPERS, LLC

                                               By: _____________________________

                                              Title: Manager
                                              CLIENT REPRESENTATIVE OF
                                              BLACKSTONE DEVELOPERS, LLC




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AGREED MOTION FOR CONTINUANCE                                                  Page 4
   Case 3:15-cv-01072-N Document 30 Filed 11/23/16               Page 5 of 7 PageID 186



                                           /s/ Colin Batchelor
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                                           OHIO SECURITY INSURANCE COMPANY

                                          By: _____________________________
                                              RICK PRICE

                                          Title: Senior Technical Specialist

                                          CLIENT REPRESENTATIVE OF
                                          OHIO SECURITY INSURANCE COMPANY




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AGREED MOTION FOR CONTINUANCE                                                     Page 5
Case 3:15-cv-01072-N Document 30 Filed 11/23/16   Page 6 of 7 PageID 187
Case 3:15-cv-01072-N Document 30 Filed 11/23/16   Page 7 of 7 PageID 188
